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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                             No. 19-CR-561 (LAP)
-against-
                                             No. 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                     ORDER
                    Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Before the Court is Defendant Steven Donziger’s request to

adjourn the trial date in this matter, now January 19, 2021, to

May 10, 2021--a request to which the Government did not object. 1

For the reasons below, the request to adjourn is GRANTED, albeit

reluctantly.

     The history of this matter is as follows.        Mr. Donziger

made his initial appearance on the Court’s July 31, 2019 Order

to Show Cause on August 6, 2019.       (See dkt. no. 3.)     At that




     1 (See dkt. no. 240.) Specifically, Mr. Donziger
“object[ed] to conducting the trial remotely.” (Id. at 1.) The
Government confirmed that it was “ready to proceed to trial and
prepared to begin on January 19” but that it “ha[d] no objection
to an adjournment.” (Id.)
     The parties’ letter responded to the Court’s January 5,
2021 order regarding a recent standing order issued by Chief
Judge McMahon. (See dkt. no. 239.) That standing order
adjourned all jury trials in the Southern District of New York
until February 12, 2021. See In re Coronavirus/COVID 19
Pandemic, M-10-468 (CM) (S.D.N.Y. Jan. 5, 2021) (slip op. at 1).
Although the order did not adjourn all bench trials, it did
state that “bench trials . . . should be conducted remotely if
at all possible.” (Id. at 1.)
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hearing, the Government--based on the recommendation by the

Pretrial Services (“PTS”) officer--advocated for several

conditions of release, including, most notably, home confinement

and location monitoring.       (See dkt. no. 18 at 13:13-14:2.)        Mr.

Donziger opposed those conditions.         (See id. at 14:25-16:24,

17:8-20:10.)

       The Court released Mr. Donziger subject to several

conditions, including supervision by PTS subject to home

confinement and with location monitoring.          (See dkt. no. 4 at 4-

5.)    The Court ordered home confinement after finding Mr.

Donziger to be a flight risk, citing, inter alia, (1) the fact

that Mr. Donziger faced a possibility of a term of imprisonment,

(2) the “weight of the evidence” against him, (3) his “past

refusal to comply with orders of the court,” and (4) his

“frequent travel to Ecuador which . . . has less than a reliable

system for extradition.”       (Dkt. no. 18 at 27:6-13.)

       One would have thought that that circumstance would have

motivated Mr. Donziger vigorously to seek an early trial date.

However, since Mr. Donziger’s initial appearance, the following

events have occurred:

  •    On November 4, 2019, Mr. Donziger (who remained in home
       confinement) moved to eliminate the conditions of home
       confinement. (See dkt. no. 30.)

  •    On November 25, 2019, the Court held oral argument on the
       motion, denying Mr. Donziger’s request after finding that
       he remained a flight risk. (See dkt. no. 44 at 13:1-3.)

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•    On December 3, 2019, Mr. Donziger (who remained in home
     confinement) moved for reconsideration of the Court’s
     decision. (See dkt. no. 39.)

•    On December 4, 2019, the Court held a status conference.
     (See dkt. no. 42.) At that conference, the Court heard
     argument from Mr. Donziger regarding his motion for
     reconsideration. (See id. at 3:7-6:20.) The Court also
     set the case for trial on June 15, 2010.

•    On December 17, 2019, Mr. Donziger (who remained in home
     confinement) withdrew his request for reconsideration.
     (See dkt. no. 47.)

•    On May 18, 2020, at a pretrial conference, Mr. Donziger
     (who remained in home confinement) again requested to
     eliminate the condition of home confinement. (See dkt. no.
     87 at 9:12-13.) The Court denied that request, finding
     that Mr. Donziger remained a flight risk. (Id. at 13:8-
     10.) The Court also adjourned the June 15 trial date to
     September 9, 2020, following the onset of the pandemic.

•    Leading up to the September 9 trial date, Mr. Donziger (who
     remained in home confinement) requested to adjourn or
     continue the trial at least three times. (See dkt. no. 111
     (July 29); dkt. no. 130 (August 21); dkt. no. 158 (August
     27).).

•    On September 4, 2020, the Court adjourned the trial date to
     November 3, 2020. (See dkt. no. 168.) The Court adjourned
     the trial by one additional day on September 16, 2020.
     (See dkt. no. 172.)

•    Leading up to November 4, Mr. Donziger (who remained in
     home confinement) requested to adjourn or continue the
     trial at least three times. (See dkt. no. 180 (October
     18); dkt. no. 187 (October 22); dkt. no. 194 (October 27).)

•    On October 28, 2020, the Court adjourned the trial date to
     November 9, 2020. (See dkt. no. 196.)

•    Leading up to that new trial date, Mr. Donziger (who
     remained in home confinement) requested to adjourn at least
     three additional times. (See dkt. no. 200-1 (November 4);
     dkt. no. 204 (November 6); dkt. no. 207 (November 6).) In
     one of those requests, Mr. Ronald Kuby, a newly appearing
     lawyer for Mr. Donziger, indicated that he would accompany

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       Mr. Donziger to court on November 9 to request permission
       “to discuss scheduling an adjourn date.” (Dkt. no. 204.)

  •    On November 6, 2020, the Court issued an order informing
       Mr. Kuby that he “[wa]s always free to confer with the
       Prosecutors and report the outcome.” (Dkt. no. 206.)
       Later that day, the Government filed a letter stating that
       it was “ready for trial on Monday, November 9” but that it
       “consent[ed] to the defense request for an adjournment.”
       (Dkt. no. 208.)

  •    On November 7, 2020, on agreement of the parties, the Court
       granted Mr. Donziger’s motion and adjourned the trial to
       January 19, 2021. (See dkt. no 209.)

  •    On December 17, 2020, Mr. Donziger (who remained in home
       confinement) again moved to discontinue the condition of
       home confinement. (See dkt. no. 227.) The Court denied
       that request on December 31, 2020. (See dkt. no. 237.)

       Now before the Court is Mr. Donziger’s current request (to

which the Government does not object) to adjourn the trial date

to May 10, 2021, some 643 days from Mr. Donziger’s initial

appearance and that same number of days since Mr. Donziger began

his home confinement.       As stated above, Mr. Donziger has

repeatedly requested adjournments of the trial date throughout

his now more than 500 days of home confinement.           In light of

this history, but cognizant of the fact that it is both Mr.

Donziger (who remains in home confinement) and the Government

who seek yet another adjournment of the trial date--this time

for another 111 days, no less--the Court reluctantly GRANTS the

request of Mr. Donziger and the Government to adjourn the trial

date from January 19, 2021 to May 10, 2021.          (See dkt. no. 240.)



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     Out of an excess of caution, time until the adjourned trial

date of May 10 is excluded from calculation under the Speedy

Trial Act in the interests of justice based on Mr. Donziger’s

request for an adjournment.

SO ORDERED.

Dated:    January 10, 2021
          New York, New York


                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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